                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 1 of 35

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

  Southern
 ____________________                 Texas
                      District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            Sungard Availability Services, LP
                                              ______________________________________________________________________________________________________



                                               SunGard Availability Services LP
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___ 3 – ___
                                                      2 ___
                                                          1 ___
                                                             0 ___
                                                                6 ___
                                                                   1 ___
                                                                      9 ___
                                                                         5
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  565 E. Swedesford Road
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 320
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Wayne                          PA        19087
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              Chester
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.sungardas.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                      Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 2 of 35

Debtor
              Sungard Availability Services, LP
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          x None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___
                                              5 ___
                                                 1 ___
                                                    8 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 3 of 35

Debtor          Sungard Availability Services, LP
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No               Southern District
       filed by or against the debtor
       within the last 8 years?           
                                          x Yes.               of New York
                                                    District _______________________      05/01/2019
                                                                                     When _______________              19-22914
                                                                                                          Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             
                                          x Yes.            See Rider 1
                                                    Debtor _____________________________________________               Affiliate
                                                                                                         Relationship _________________________
       affiliate of the debtor?                               Southern District of Texas
                                                    District _____________________________________________ When                04/11/2022
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          x No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 4 of 35

Debtor         Sungard Availability Services, LP
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         x Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                         
                                         x 200-999

                                          $0-$50,000                         $1,000,001-$10 million                    
                                                                                                                         x $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                    
                                                                                                                         x $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          04/11/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Michael K. Robinson
                                             _____________________________________________
                                                                                                          Michael K. Robinson
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name


                                             Title _________________________________________
                                                   Chief Executive Officer and President of Sungard AS New Holdings, LLC




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 5 of 35

Debtor        Sungard Availability Services, LP
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                             /s/ Matthew D. Cavenaugh
                                            _____________________________________________            Date       4/11/2022
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Matthew D. Cavenaugh
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Jackson Walker LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                            1401 McKinney Street, Suite 1900
                                           _________________________________________________________________________________________________
                                           Number       Street
                                           Houston
                                           ____________________________________________________             TX
                                                                                                           ____________ ______________________________
                                                                                                                         77010
                                           City                                                            State        ZIP Code

                                            713-752-4200
                                           ____________________________________                             mcavenaugh@jw.om
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address


                                           24062656                                              TX
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 6 of 35




                                            RIDER 1

        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
the Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of
the United States Code. The Debtors will move for joint administration of these cases under the
case number assigned to the chapter 11 case of Sungard AS New Holdings, LLC.

   1.  InFlow LLC
   2.  Sungard AS New Holdings, LLC
   3.  Sungard AS New Holdings II, LLC
   4.  Sungard AS New Holdings III, LLC
   5.  Sungard Availability Network Solutions Inc.
   6.  Sungard Availability Services (Canada) Ltd. / Sungard, Services de Continuite des Affaires
       (Canada) Ltee
   7. Sungard Availability Services Holdings (Canada), Inc.
   8. Sungard Availability Services Holdings (Europe), Inc.
   9. Sungard Availability Services Holdings, LLC
   10. Sungard Availability Services Technology, LLC
   11. Sungard Availability Services, LP
   12. Sungard Availability Services, Ltd.
           Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 7 of 35




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                  )
In re:                                            )        Chapter 11
                                                  )
SUNGARD AVAILABILITY SERVICES, LP,                )        Case No. 22-_____ ([__])
                                                  )
                              Debtor.             )        (Joint Administration Requested)
                                                  )


                         CORPORATE OWNERSHIP STATEMENT

Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                   Shareholder                        Approximate Percentage of Shares Held

          Sungard AS New Holdings, LLC                                  100%

         Sungard AS New Holdings II, LLC                                100%

         Sungard AS New Holdings III, LLC                               100%

 Sungard Availability Services Holdings, LLC                            100%

   Sungard Availability Services Technology,                            100%
                     LLC

                   InFlow LLC                                           99%
         Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 8 of 35




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                               )
In re:                                         )      Chapter 11
                                               )
SUNGARD AVAILABILITY SERVICES, LP,             )      Case No. 22-_____ ([__])
                                               )
                             Debtor.           )      (Joint Administration Requested)
                                               )


                         LIST OF EQUITY SECURITY HOLDERS

         Equity Holder                 Address of Equity Holder           Percentage of
                                                                          Equity Held

          InFlow LLC               565 E. Swedesford Road, Suite 320             99%
                                           Wayne, PA 19087
  Sungard Availability Services    565 E. Swedesford Road, Suite 320             1%
       Technology, LLC                     Wayne, PA 19087
                                               Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 9 of 35



      Fill in this information to identify the case:
      Debtor name: Sungard Availability Services, LP
      United States Bankruptcy Court for the: Southern District of Texas
      Case number (If known): ______________                                                                                                                    Check if this is an amended
                                                                                                                                                                 filing

      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders                                       4/10
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as
      defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
      claims.
                                                                                                                                                                                   Amount of unsecured claim
                                                                                                                                                            if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                              Nature of the claim (for
                                                                                                                                       Indicate if claim is claim is partially secured, fill in total claim amount and deduction for
                                                                                                               example, trade debts,                               value of collateral or setoff to calculate unsecured claim.
     Name of creditor and complete mailing address,             Name, telephone number, and email address of                              contingent,
                                                                                                              bank loans, professional
                   including zip code                                         creditor contact                                          unliquidated, or
                                                                                                             services, and government
                                                                                                                                            disputed                                     Deduction for value
                                                                                                                     contracts)                              Total claim, if partially
                                                                                                                                                                                             of collateral or     Unsecured claim
                                                                                                                                                                      secured
                                                                                                                                                                                                  setoff
      ENSONO LP                                               ATTN: NICK LOFASO
 1    3333 FINLEY RD                                          TELEPHONE: 215-280-7350                                       TRADE               UNLIQUIDATED                                                         $3,808,280
      DOWNERS GROVE, IL 60515                                 EMAIL: NICHOLAS.LOFASO@ENSONO.COM
      401 NORTH BROAD LESSEE, LLC                             ATTN: DAVID HAGAN
      C/O AMERIMAR 401 NORTH BROAD MANAGEMENT CO.             TELEPHONE: 215-893-6057
 2                                                                                                                        LANDLORD              UNLIQUIDATED                                                         $2,400,717
      50 SOUTH 16TH STREET                                    EMAIL: DHAGAN@NETRALITY.COM
      PHILADELPHIA, PA 19102
      MICRO FOCUS LLC                                         ATTN: BROOK HOFFMAN (MCLAUGHLIN)
 3    4555 GREAT AMERICA PARKWAY, SUITE 400                   TELEPHONE: 303-209-0079                                       TRADE                                                                                    $1,517,345
      SANTA CLARA, CA 95054                                   EMAIL: BROOK.MCLAUGHLIN@MICROFOCUS.COM
      AVANT COMMUNICATIONS                                    ATTN: SHANE MCNAMARA
                                                                                                                                                CONTINGENT,
 4    2 N. RIVERSIDE PLAZA, SUITE 2450                        EMAIL: SMCNAMARA@GOAVANT.NET                           MARKETING PARTNER                                                                               $1,372,560
                                                                                                                                                UNLIQUIDATED
      CHICAGO, IL 60606
      BRIDGEPOINTE TECHNOLOGIES, INC.                         ATTN: GARY JACOBS
                                                                                                                                                CONTINGENT,
 5    3250 LACEY RD #10                                       EMAIL: GJACOBS@BPT3.NET                                MARKETING PARTNER                                                                               $1,068,030
                                                                                                                                                UNLIQUIDATED
      DOWNERS GROVE, IL 60515
      PSE&G CO                                                ATTN: DENNIS O'CONNOR
 6    325 COUNTY AVE                                          TELEPHONE: 973-445-1518                                  UTILITY PROVIDER         UNLIQUIDATED                                                         $1,038,324
      SECAUCUS, NJ 07094                                      EMAIL: DENNIS.OCONNOR@PSEG.COM
      EMC CORPORATION                                         ATTN: PAT FORTI
 7    176 SOUTH STREET                                        TELEPHONE: 610-809-9096                                       TRADE               UNLIQUIDATED                                                          $840,234
      HOPKINTON, MA 01748                                     EMAIL: PAT.FORTI@DELL.COM
      MICROLAND LIMITED                                       ATTN: DEEPANJAN BISWAS
 8    1B ECOSPACE OUTER RING ROAD                             TELEPHONE: +44(0)77 2525 7948                                 TRADE               UNLIQUIDATED                                                          $799,797
      BELLANDUR, 560103 INDIA                                 EMAIL: DEEPANJAN.BISWAS@MICROLAND.COM
      VERTIV CORPORATION                                      ATTN: HEATHER HILL
 9    1050 DEARBORN DRIVE                                     TELEPHONE: 614-216-9390                                       TRADE                                                                                     $791,784
      COLUMBUS, OH 43085                                      EMAIL: HEATHER.HILL@VERTIV.COM
      VERITAS TECHNOLOGIES LLC                                ATTN: ANGELO SCIASCIA
 10   2625 AUGUSTINE DR,                                      TELEPHONE: 917-655-7303                                       TRADE                                                                                     $684,974
      SANTA CLARA, CA 95054                                   EMAIL: ANGELO.SCIASCIA@VERITAS.COM
      LJS ELECTRICAL CONTRACTOR, INC                          ATTN: LARRY J. SMITH
 11   430 COMMERCE BLVD, UNIT C                               TELEPHONE: 201-729-2146                                       TRADE                                                                                     $675,943
      CARLSTADT, NJ 07072                                     EMAIL: LSMITH@LJSELECTRIC
      PRESIDIO NETWORK SOLUTIONS INC                          ATTN: RYAN FISHER
                                                                                                                                                CONTINGENT,
 12   ONE PENN PLAZA, SUITE 2501                              TELEPHONE: 610-684-2915; 484-919-9692                  MARKETING PARTNER                                                                                $644,270
                                                                                                                                                UNLIQUIDATED
      NEW YORK, NY 10119                                      EMAIL: RYANFISHER@PRESIDIO.COM
      ELEMENT CRITICAL                                        ATTN: SHANE MENKING
 13   7990 QUANTUM DRIVE                                      EMAIL: SMENKING@ELEMENTCRITICAL.COM                           TRADE               UNLIQUIDATED                                                          $605,816
      VIENNA, VA 22182
      1500 NET-WORKS ASSOCIATES, L.P.                         ATTN: SOPHIA KIMMEY
      C/O AMERIMAR ENTERPRISES, INC.                          TELEPHONE: 646-627-7289; 646-553-5641
 14                                                                                                                       LANDLORD              UNLIQUIDATED                                                          $560,092
      210 WEST RITTENHOUSE SQUARE, SUITE 1900                 EMAIL: SKIMMEY@THENGGROUP.COM
      PHILADELPHIA, PA 19103
      SYKES ENTERPRISES INC                                   ATTN: ALEXANDER BALTODANO
 15   700 PARKWAY GLOBAL PARK, MAIN BUILDING                  TELEPHONE: +506 2298-2347                                     TRADE                                                                                     $558,187
      LA AURORA HEREDIA, 517-4005 COSTA RICA                  EMAIL: ALEXANDER.BALTODANO@SYKES.COM
      RUSSO FAMILY LIMITED PARTNERSHIP                        ATTN: ADAM PASTERNACK
      C/O RUSSO DEVELOPMENT, LLC                              TELEPHONE: 201-487-5657 X229
 16                                                                                                                       LANDLORD                                                                                    $509,847
      570 COMMERCE BLVD                                       EMAIL: APASTERNACK@RUSSODEVELOPMENT.COM
      CARLSTADT, NJ 07072
      REDWOOD DC ASSETS LLC                                   ATTN: DANIELLE MCKINNEY
 17   180 PEACHTREE STREET, SUITE 610                         TELEPHONE: 404-525-8190                                     LANDLORD                                                                                    $460,965
      ATLANTA, GA 30303                                       EMAIL: DANIELLEMCKINNEY@MAPLETREE.COM.SG
      LANDMARK INFRASTRUCTURE PARTNERS LP LLC                 ATTN: JOSEF BOBEK
      400 N. CONTINENTAL BLVD, SUITE 500                      TELEPHONE: 310-464-3172
      EL SEGUNDO, CA 90245                                    EMAIL: JBOBEK@LANDMARKDIVIDEND.COM
 18                                                           - AND -                                                     LANDLORD                                                                                    $403,471
                                                              ATTN: VALERIE SILVA
                                                              TELEPHONE: 801-200-2587
                                                              EMAIL: VSILVA@LANDMARKDIVIDEND.COM
    HATZEL & BUEHLER, INC.                                    ATTN: ROBIN VILLAVICENCIO
 19 PO BOX 7499                                               EMAIL: R.VILLAVICENCIO@HATZELANDBUEHLER.COM                   TRADE                                                                                     $382,795
    WILMINGTON, DE 19803
    410 COMMERCE LLC                                          ATTN: ADAM PASTERNACK
 20 570 COMMERCE BLVD                                         TELEPHONE: 201-487-5657 X229                                LANDLORD                                                                                    $353,748
    CARLSTADT, NJ 07072                                       EMAIL: APASTERNACK@RUSSODEVELOPMENT.COM




Official Form 204                                                                                                                                                                                                                 Page 1
                                            Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 10 of 35
Debtor __Sungard Availability Services, LP______________________                                                                                                                       Case number (if known)_____________________________________




                                                                                                                                                                                      Amount of unsecured claim
                                                                                                                                                               if the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                                 Nature of the claim (for
                                                                                                                                          Indicate if claim is claim is partially secured, fill in total claim amount and deduction for
                                                                                                                  example, trade debts,                               value of collateral or setoff to calculate unsecured claim.
   Name of creditor and complete mailing address,                  Name, telephone number, and email address of                              contingent,
                                                                                                                 bank loans, professional
                 including zip code                                              creditor contact                                          unliquidated, or
                                                                                                                services, and government
                                                                                                                                               disputed                                     Deduction for value
                                                                                                                        contracts)                              Total claim, if partially
                                                                                                                                                                                                of collateral or     Unsecured claim
                                                                                                                                                                         secured
                                                                                                                                                                                                     setoff
    AMAZON WEB SERVICES                                           ATTN: GEORGE SOPHY
 21 410 TERRY AVENUE NORTH                                        EMAIL: SOPHYG@AMAZON.COM                                                  TRADE                   UNLIQUIDATED                                                 $346,630
    SEATTLE, WA 98109
    NSC GLOBAL, LLC                                               ATTN: NEIL NEWING
 22 WEST BUILDING 1, LONDON BRIDGE, 3RD FLOOR                     TELEPHONE: +44(0)77 7615 0594                                             TRADE                                                                                $325,109
    LONDON, SE19BG UK                                             EMAIL: NEIL.NEWING@NSCGLOBAL.COM
    760 WASHINGTON AVENUE LLC                                     ATTN: ADAM PASTERNACK
    C/O RUSSO DEVELOPMENT LLC                                     TELEPHONE: 201-487-5657 X229
 23                                                                                                                                       LANDLORD                                                                               $322,256
    570 COMMERCE BLVD                                             EMAIL: APASTERNACK@RUSSODEVELOPMENT.COM
    CARLSTADT, NJ 07072
    EMCOR SERVICES (FLUIDICS)                                     ATTN: MIKE IACOBUCCI
 24 9815 ROOSEVELT BLVD #A                                        EMAIL: MIACOBUCCI@FLUIDICS.COM                                            TRADE                                                                                $291,009
    PHILADELPHIA, PA 19114
    DI PROPCO LLC                                                ATTN: JOSEF BOBEK
    C/O LANDMARK DIVIDEND LLC                                    TELEPHONE: 310-464-3172
    400 N. CONTINENTAL BLVD, SUITE 500                           EMAIL: JBOBEK@LANDMARKDIVIDEND.COM
 25 EL SEGUNDO, CA 90245                                         - AND -                                                                      LANDLORD                                                                           $288,469
                                                                 ATTN: VALERIE SILVA
                                                                 TELEPHONE: 801-200-2587
                                                                 EMAIL: VSILVA@LANDMARKDIVIDEND.COM
     DATACENTERS.COM                                             ATTN: JOEL ST GERMAIN
                                                                                                                                                                        CONTINGENT,
 26 10333 E DRY CREEK RD, SUITE 430                              TELEPHONE: 303-880-1390                                                MARKETING PARTNER                                                                        $282,754
                                                                                                                                                                        UNLIQUIDATED
     ENGLEWOOD, CO 80112                                         EMAIL: JOEL@DATACENTERS.COM
     SOFTWARE ONE, INC.                                          ATTN: JASON SHAPOT
 27 20875 CROSSROADS CIRCLE, SUITE #1                            TELEPHONE: 610-873-2328                                                        TRADE                                                                            $272,146
     WAUKESHA, WI 53186                                          EMAIL: JASON.SHAPOT@SOFTWAREONE.COM
     NET2VAULT, LLC                                              ATTN: LIZ MAGUIRE
 28 4900 SW GRIFFITH DRIVE, SUITE 275                            TELEPHONE: 503-445-8282                                                        TRADE                   UNLIQUIDATED                                             $258,487
     BEAVERTON, OR 97005                                         EMAIL: LIZ@NET2VAULT.COM
     M.F. MALONE, INC.                                           ATTN: COLIN MALONE
 29 1043 GEN LAFAYETTE BLVD                                      TELEPHONE: 610-793-2733                                                        TRADE                                                                            $229,262
     WEST CHESTER, PA 19382                                      EMAIL: COLIN.MALONE@MFMALONE.COM
     MICROSOFT CORPORATION                                       ATTN: CHRIS DANIELS
 30 ONE MICROSOFT WAY                                            TELEPHONE: 610-240-7119                                                        TRADE                                                                            $222,240
     REDMOND, WA 98052                                           EMAIL: CDANIELS@MICROSOFT.COM
Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities become invoiced.




Official Form 204                                                                                                                                                                                                                           Page 2
                      Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 11 of 35

 Fill in this information to identify the case and this filing:


              Sungard Availability Services, LP
 Debtor Name __________________________________________________________________
                                          Southern
 United States Bankruptcy Court for the: ______________________              Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         x    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)
         
         x                                               List of Equity Security Holders, Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     04/11/2022
        Executed on ______________                               /s/ Michael K. Robinson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Michael K. Robinson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer and President of Sungard AS New Holdings, LLC
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 12 of 35
                                                                                Execution Version


              OMNIBUS ACTION BY WRITTEN CONSENT OF
                    THE GOVERNING BODIES OF
                  SUNGARD AS NEW HOLDINGS, LLC
                 SUNGARD AS NEW HOLDINGS II, LLC,
                 SUNGARD AS NEW HOLDINGS III, LLC,
           SUNGARD AVAILABILITY SERVICES HOLDINGS, LLC,
         SUNGARD AVAILABILITY SERVICES TECHNOLOGY, LLC,
                          INFLOW LLC,
          SUNGARD AVAILABILITY NETWORK SOLUTIONS, INC.,
      SUNGARD AVAILABILITY SERVICES HOLDINGS (CANADA), INC.,
      SUNGARD AVAILABILITY SERVICES HOLDINGS (EUROPE), INC.,
               SUNGARD AVAILABILITY SERVICES, LTD.,
 SUNGARD AVAILABILITY SERVICES (CANADA) LTD./SUNGARD, SERVICES DE
              CONTINUITÉ DES AFFAIRES (CANADA) LTEE
                               AND
                SUNGARD AVAILABILITY SERVICES, LP


                                          April 10, 2022

        The undersigned, being (a) all of the members of the board of directors and of the boards
of managers, as applicable, (collectively, the “Boards”) of: (1) Sungard AS New Holdings, LLC,
a Delaware limited liability company (“Holdings”); (2) Sungard Availability Services Holdings,
LLC, a Delaware limited liability company; (3) Sungard Availability Services Technology, LLC,
a Delaware limited liability company; (4) InFlow LLC, a Delaware limited liability company; (5)
Sungard Availability Network Solutions, Inc., a Delaware corporation; (6) Sungard Availability
Services Holdings (Canada), Inc., a Delaware corporation; (7) Sungard Availability Services
Holdings (Europe), Inc., a Delaware corporation; (8) Sungard Availability Services, Ltd.; and (9)
Sungard Availability Services (Canada) Ltd./Sungard, Services de Continuité des Affaires
(Canada) Ltee (“Sungard Canada” and items (5) through (9) together, the “Subsidiary
Corporations” and, each individually, a “Subsidiary Corporation”) and (b) each of the members
(each, a “Member”) or the general partner, as applicable (a “General Partner” and, together with
the Boards and the Members, the “Governing Bodies” and, each individually a “Governing Body”)
of: (10) Sungard AS New Holdings II, LLC, a Delaware limited liability company; (11) Sungard
AS New Holdings III, LLC, a Delaware limited liability company (items (2), (3), (4), (10) and (11)
together, the “Subsidiary LLCs” and each individually, a “Subsidiary LLC”); and (12) Sungard
Availability Services, LP, a Pennsylvania limited partnership (the “Subsidiary Partnership” and,
together with the Subsidiary LLCs and Subsidiary Corporations, the “Subsidiaries” and, each
individually, a “Subsidiary” and, together with Holdings, the “Companies” and, each individually,
a “Company”), the Subsidiary LLCs, the Subsidiary Corporations and the Subsidiary Partnership,
do hereby consent and agree in writing pursuant to the Delaware General Corporation Law, the
Delaware Limited Liability Company Act, the Pennsylvania Revised Uniform Limited Partnership
Act and the Business Corporations Act (Ontario), as applicable, to the adoption of the following
resolutions in lieu of a meeting of the applicable Governing Bodies, the call and notice of which
are hereby expressly waived, and authorize the taking of all actions contemplated hereby.
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 13 of 35




        WHEREAS, each Governing Body has reviewed and considered the materials presented
by management and the financial and legal advisors to the Companies, including, but not limited
to, Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”), legal counsel to the Companies, Cassels
Brock & Blackwell LLP, Canadian legal counsel to the Companies (“Cassels”), DH Capital, LLC
(“DH”) and Houlihan Lokey, Inc. (“Houlihan”), investment bankers to the Companies and FTI
Consulting, Inc. (“FTI”), financial and restructuring advisor to the Companies, on the date hereof
regarding, among other things, the liabilities, assets and liquidity of each Company and the other
direct and indirect subsidiaries of Holdings, the strategic alternatives available to each Company
and the potential impact (financial and otherwise) of the foregoing on each Company’s respective
businesses;

         WHEREAS, in connection with each Governing Body’s consideration of such liabilities,
assets, liquidity, strategic alternatives and the impact thereof, each Governing Body has reviewed
and evaluated the potential financing and/or restructuring alternatives available to each Company,
including, but not limited to: (i) an equity or debt (including debtor in possession) financing; (ii) a
reorganization; (iii) a merger, recapitalization, refinancing, amendment or exchange of the
Companies’ existing indebtedness or any of the Companies’ capital stock, in each case, whether
in-court or out-of-court and/or whether pursuant to a pre-negotiated or pre-planned restructuring
plan or proposal or otherwise; (iv) a sale of some or all of the assets of the Companies; (v) the
seeking of relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”) and the filing of voluntary petitions pursuant thereto; (vi) the seeking of relief
pursuant to the Companies’ Creditors Arrangement Act (Canada) R.S.C. 1985, c. C-36 as amended
(the “CCAA”) or the Bankruptcy and Insolvency Act (Canada) 1985, c. B-3; (vii) any combination
of the foregoing; and (viii) any other strategic alternatives available to each Company (collectively,
the “Restructuring Alternatives”);

        WHEREAS, each Governing Body has had the opportunity to consult with management
and the financial and legal advisors to the Companies and to fully consider each of the strategic
alternatives available to such Company, including, but not limited to, the Restructuring
Alternatives;

        WHEREAS, in contemplation of the foregoing, the Companies and the Companies’
advisors have engaged with certain respective creditors of the Companies and other parties in
interest in negotiating certain restructuring transactions (the “Restructuring Transactions”) on the
terms and subject to the conditions set forth in the Restructuring Support Agreement and the term
sheet attached thereto substantially in the form attached hereto as Exhibit A (the “Restructuring
Support Agreement”) by and among (i) each of the Companies and (ii) non-affiliated holders of,
or investment advisors, sub-advisors, or managers of discretionary accounts that hold, First Lien
Credit Agreement Claims, Second Lien Credit Agreement Claims, Non-Extending Second Lien
Credit Agreement Claims and, as applicable, Interests in the Companies (the “Consenting
Stakeholders”);

       WHEREAS, capitalized terms used but not otherwise defined in these resolutions shall
have the meanings ascribed to them in the Restructuring Support Agreement;

       WHEREAS, the Companies and the Consenting Stakeholders would agree pursuant to the



                                                  2
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 14 of 35




Restructuring Support Agreement, among other things, to effectuate the Restructuring Transactions
by the Companies commencing voluntary cases under chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) and
seeking recognition in Canada of the applicable chapter 11 cases and relief obtained therein by
commencing a proceeding under the CCAA in the Ontario Superior Court of Justice (Commercial
List) (the “Canadian Court”);

        WHEREAS, each Governing Body, upon the advice of the Companies’ advisors and upon
the recommendation of the Strategic Planning Committee and after careful consideration of all of
the facts and circumstances relating to each of the strategic alternatives available to the Companies,
including, but not limited to, the Restructuring Alternatives, has determined that it is advisable and
in the best interests of the Companies, their respective creditors, employees, equityholders and
other parties in interest to enter into the Restructuring Support Agreement substantially in the form
attached hereto as Exhibit A and to seek to consummate the transactions contemplated thereby,
subject to the terms thereof;

       WHEREAS, each Governing Body has determined, in the judgment of such Governing
Body, that it is advisable and in the best interests of the Companies, their respective creditors and
other parties in interest for each Company to file or cause to be filed a voluntary petition for relief
under the provisions of the Bankruptcy Code in the Bankruptcy Court and to file the applicable
application materials for a recognition proceeding with the Canadian Court;

        WHEREAS, in connection with the implementation of the Restructuring Transactions and
pursuant to the terms of the Restructuring Support Agreement, it is proposed that the Companies
obtain secured debtor in possession financing on terms consistent with the DIP term sheet attached
hereto as Exhibit B (the “Term Loan DIP Term Sheet” and the facility contemplated thereby, the
“Term Loan DIP Facility”), which DIP Term Sheet shall be agreed to by Sungard AS New
Holdings III, LLC, as borrower (“Borrower”), the other Companies, as guarantors (collectively
such other Companies, the “Guarantors”), the administrative agent and the collateral agent
thereunder (together, the “Term Loan DIP Agent”) and the lenders providing financing thereunder
(the “Term Loan DIP Lenders”);

        WHEREAS, in connection with the implementation of the Restructuring Transactions and
pursuant to the terms of the Restructuring Support Agreement, it is proposed that the Companies
obtain secured debtor in possession financing on terms consistent with the DIP term sheet attached
hereto as Exhibit C (the “ABL DIP Term Sheet” (and, together with the Term Loan DIP Term
Sheet, the “DIP Term Sheets”) and the facility contemplated thereby, the “ABL DIP Facility” and,
together with the Term Loan DIP Facility, the “DIP Facilities”), which ABL DIP Term Sheet shall
be agreed to by the Borrower, the Guarantors, PNC Bank, National Association, as administrative
agent under the ABL DIP Facility (the “ABL DIP Agent” and, together with the Term Loan DIP
Agent, the “DIP Agents”) and the lenders thereunder (the “ABL DIP Lenders” and, together with
the Term Loan DIP Lenders, the “DIP Lenders”);

        WHEREAS, in connection with the DIP Facilities, it is proposed that the Guarantors will
guarantee the obligations of Borrower in accordance with the DIP Term Sheets and each Company
will grant to the DIP Agents and the DIP Lenders liens on, and continuing security interests in,



                                                  3
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 15 of 35




substantially all of such Company’s property, whether now or hereafter acquired, to secure the
Companies’ obligations under the DIP Facilities in accordance with the DIP Term Sheets and any
other agreements that may be entered into in connection therewith, including a credit agreement,
documents, instruments, financing statements, filings and/or certificates related thereto or that may
be necessary or desirable to effect the transactions contemplated thereby (together with all
amendments, amendments and restatements, supplements, waivers, renewals, extensions,
modifications, substitutions and replacements thereto and thereof, the “DIP Facility Documents”);

       WHEREAS, the directors of Sungard Availability Services (UK) Limited, an indirect
subsidiary of Holdings (the “UK Company”), determined, at a duly call and held meeting of its
board of directors on March 25, 2022, that it was in the best interests of the UK Company to place
the UK Company into administration as soon as practicable, and the UK Company subsequently
entered into administration (“Administration”) on March 25, 2022;

        WHEREAS, the Board of Holdings determined, at a duly called and held meeting of the
Board of Holdings on March 17, 2022, that it was advisable and in the best interests of the
Companies and their direct and indirect subsidiaries and affiliates to fund the Administration, and
thereafter Holdings entered into that certain funding agreement by and among the UK Company,
Benjamin Dymant and Ian Colin Wormleighton and Holdings for a loan of up to $7 million (£5.3
million) for the purpose of funding the Administration; and

       WHEREAS, each Governing Body has determined, in the judgment of such Governing
Body, that it is advisable and in the best interests of the Companies to provide additional funding
to the UK Company in connection with the Administration in an amount consistent with the
Approved Budget (as defined in the Term Loan DIP Term Sheet).

                       RESTRUCTURING SUPPORT AGREEMENT

        NOW, THEREFORE, BE IT RESOLVED, that it is appropriate and in the best interests
of the Companies and their respective creditors, employees, equityholders and other parties in
interest to enter into and execute the Restructuring Support Agreement substantially in the form
attached hereto as Exhibit A and to seek to consummate the transactions contemplated thereby,
subject to the terms thereof;

       RESOLVED FURTHER, that the form, terms and provisions of the Restructuring
Support Agreement and the Companies’ execution and delivery of the Restructuring Support
Agreement substantially in the form attached hereto as Exhibit A and the Companies’ performance
thereunder, hereby are, in all respects, authorized, approved, adopted and ratified;

       RESOLVED FURTHER, that the Chief Executive Officer, President, Chief Financial
Officer, Treasurer, Secretary and any other duly elected or appointed officer of each Company, as
applicable (the “Authorized Persons”) are, and each of them hereby is, authorized, empowered
and directed on behalf of, and in the name of, the Companies to execute and deliver to the
appropriate parties and to perform each Company’s obligations under the Restructuring Support
Agreement, including, but not limited to, the execution, delivery and performance of any
agreements, documents, instruments or certificates constituting exhibits, annexes or schedules to,



                                                 4
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 16 of 35




or required to be executed pursuant to, the Restructuring Support Agreement, in each case, with
such changes therein or additions thereto as the Authorized Person executing the same shall
approve and the execution thereof by any such Authorized Person to be conclusive evidence of
such approval of such changes or additions;

                                     CHAPTER 11 FILING

        RESOLVED FURTHER, that in the business judgment of each Governing Body and
based on the recommendation from management and the financial and legal advisors of the
Companies, it is desirable and in the best interests of each Company, its creditors and other parties
in interest that such Company shall be, and hereby is, authorized to file or cause to be filed a
voluntary petition for relief (each, a “Chapter 11 Case” and, collectively, the “Chapter 11 Cases”)
under the provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court;

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of each Company all petitions,
schedules, motions, objections, replies, applications, pleadings, lists, documents and other papers,
and to take any and all action that such Authorized Persons deem necessary, appropriate or
desirable to obtain such relief, including, without limitation, any action necessary, appropriate or
desirable to maintain the ordinary course operation of such Company’s businesses or to assist such
Company in the Chapter 11 Cases and in carrying out its duties under the provisions of the
Bankruptcy Code;

                           CCAA RECOGNITION APPLICATION

        RESOLVED FURTHER, that in the business judgment of each Governing Body and
based on the recommendation from management and the financial and legal advisors of the
Companies, it is desirable and in the best interests of each Company, its creditors and other parties
in interest that Sungard Canada (and such other Company as may be necessary) shall be, and
hereby is, authorized to file or cause to be filed an application for recognition in Canada under the
CCAA of its Chapter 11 Case and to seek such other insolvency or bankruptcy relief in Canada in
respect of itself or any other Company (the “Canadian Proceedings”);

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of Sungard Canada (or such
Company, as applicable) all petitions, schedules, motions, objections, replies, applications,
pleadings, lists, documents and other papers, and to take any and all action that such Authorized
Persons deem necessary, appropriate or desirable to obtain such relief, including, without
limitation, any action necessary, appropriate or desirable to maintain the ordinary course operation
of such Company’s businesses or to assist such Company in the Canadian Proceedings and in
carrying out its duties under the provisions of the CCAA;

        DIP TERM SHEETS AND DIP FACILITIES; ADEQUATE PROTECTION

      RESOLVED FURTHER, that the terms governing the DIP Facilities as set forth in the
DIP Term Sheets are in the best interests of each Company and each Company’s creditors,



                                                 5
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 17 of 35




employees, equityholders and other interested parties and it is in the best interests of each Company
and each Company’s creditors, employees, equityholders and other interested parties that (i)
Borrower make the borrowings contemplated by the DIP Facilities, (ii) each Guarantor guarantee
the obligations of Borrower thereunder and the obligations specified therein, (iii) each Company
grant to the DIP Agents and the DIP Lenders a lien on and a continuing security interest in
substantially all of such Company’s property as contemplated by the DIP Term Sheets and (iv)
each Company consummate the transactions contemplated by the DIP Facilities, including but not
limited to, the execution, delivery and performance of the obligations under the DIP Facility
Documents;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to obtain the
DIP Facilities on the terms set forth in the DIP Term Sheets and each other DIP Facility Document,
including, but not limited to, the execution, delivery and performance of any agreements,
documents, instruments or certificates constituting exhibits, annexes or schedules to, or required
to be executed pursuant to, the DIP Facility Documents, in each case, with such changes therein
or additions thereto as the Authorized Person executing the same shall approve and the execution
thereof by any such Authorized Person to be conclusive evidence of such approval of such changes
or additions;

       RESOLVED FURTHER, that Holdings is authorized to provide additional funding to the
UK Company in connection with the Administration using proceeds in an amount consistent with
the Approved Budget;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to take all
such further actions, including, without limitation, to enter into any such funding agreement, to
pay or approve the payment of funds to the UK Company and appropriate fees and expenses
incurred by or on behalf of such Company in connection with the foregoing resolution, which shall
in his or her sole judgment be necessary, proper or advisable to perform any of such Company’s
obligations to carry out fully the intent of the foregoing resolution;

        RESOLVED FURTHER, that the Companies shall provide certain adequate protection
to the Companies’ prepetition secured lenders, including adequate protection replacement liens,
adequate protection superpriority claims and the receipt of payment of fees and expenses as
adequate protection (the “Adequate Protection Obligations”);

       RESOLVED FURTHER, that the Companies as debtors and debtors in possession under
the Bankruptcy Code be, and hereby are, authorized to negotiate and incur the Adequate Protection
Obligations, grant liens, make periodic payments and to undertake any and all related transactions
on substantially the same terms as contemplated under the DIP Facility Documents (collectively,
the “Adequate Protection Transactions”);

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies, as debtors
and debtors in possession, to take such actions as in his or her reasonable discretion is determined



                                                 6
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 18 of 35




to be necessary, desirable or appropriate and execute the Adequate Protection Transactions,
including delivery of (i) the DIP Facility Documents and such agreements, certificates,
instruments, guaranties, notices and any and all other documents, including, without limitation,
any amendments to any DIP Facility Documents (collectively, the “Adequate Protection
Documents”), (ii) such other instruments, certificates, notices, assignments and documents as may
be reasonably requested by the Agent and (iii) such forms of deposit, account control agreements,
officer’s certificates and compliance certificates as may be required by the DIP Facility Documents
or any other Adequate Protection Document;

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to fix the
terms of and to enter into, execute, file or deliver security, mortgage, pledge or other collateral
agreements, documents, instruments, arrangements or statements, including, but not limited to,
such financing statements or comparable documents required under the Uniform Commercial
Code, the applicable personal property lien legislation in the relevant Canadian jurisdictions or
comparable law as adopted in the relevant jurisdictions, and to make any and all expenditures, to
incur any and all expenses, and to pay any and all required fees or taxes, as may be necessary,
appropriate or advisable to create or perfect security interests in favor of the secured parties under
the DIP Facilities, substantially on the terms described in the DIP Facility Documents;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to take all
such further actions, including, without limitation, to pay or approve the payment of adequate
protection, appropriate fees and expenses payable in connection with the Adequate Protection
Transactions and appropriate fees and expenses incurred by or on behalf of such Company in
connection with the foregoing resolutions, in accordance with the terms of the Adequate Protection
Documents, which shall in his or her sole judgment be necessary, proper or advisable to perform
any of such Company’s obligations under or in connection with any of the Adequate Protection
Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions;

                             RETENTION OF PROFESSIONALS

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Akin Gump to represent and assist each Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance such
Company’s rights and obligations, including filing any petitions, schedules, motions, objections,
replies, applications, pleadings, lists, documents and other papers and conducting any sales process
on behalf of each Company and in connection therewith, each of the Authorized Persons, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers and to cause to be filed an appropriate application for authority to retain
Akin Gump in accordance with applicable law;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ the law firm of Jackson Walker LLP (“Jackson Walker”) as co-
bankruptcy counsel to represent and assist each Company in carrying out its duties under the



                                                  7
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 19 of 35




Bankruptcy Code, and to take any and all actions to advance such Company’s rights and
obligations, including filing any petitions, schedules, motions, objections, replies, applications,
pleadings, lists, documents and other papers and conducting any sales process on behalf of each
Company and in connection therewith, each of the Authorized Persons, with power of delegation,
is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers and to cause to be filed an appropriate application for authority to retain Jackson Walker
in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Cassels as Canadian bankruptcy counsel to provide Canadian
legal advice to the Companies, to represent and assist each Company in carrying out its duties
under the CCAA and the Canadian Proceedings, and to take any and all actions to advance such
Company’s rights and obligations, including filing any petitions, schedules, motions, objections,
replies, applications, pleadings, lists, documents and other papers and conducting any sales process
on behalf of each Company and in connection therewith, each of the Authorized Persons, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers and, if required, to cause to be filed an appropriate application for
authority to retain Cassels in accordance with applicable law;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to pay the fees and expenses of the proposed Canadian Court appointed
Information Officer in the Canadian Proceedings, Alvarez & Marsal Canada Inc., and its counsel,
Bennett Jones LLP, in connection with the Canadian Proceedings and, as applicable, on such terms
and conditions as the Canadian Court shall subsequently approve;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ DH as special investment banker to represent and assist each
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance such Company’s rights and obligations and in connection therewith, each of the
Authorized Persons, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers and to cause to be filed an appropriate
application for authority to retain DH in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Houlihan as restructuring investment banker to represent and
assist each Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance such Company’s rights and obligations and in connection therewith, each of the
Authorized Persons, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers and to cause to be filed an appropriate
application for authority to retain Houlihan in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ FTI as financial advisor to represent and assist each Company
in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
such Company’s rights and obligations and in connection therewith, each of the Authorized
Persons, with power of delegation, is hereby authorized and directed to execute appropriate



                                                 8
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 20 of 35




retention agreements, pay appropriate retainers and to cause to be filed an appropriate application
for authority to retain FTI in accordance with applicable law;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ Kroll Restructuring Administration LLC (“Kroll”) as notice and
claims agent to provide consulting services to each Company, including, but not limited to,
noticing, claims management and reconciliation, plan solicitation, balloting, disbursements and
assisting with the preparation of each Company’s schedules of assets and liabilities and a statement
of financial affairs and any other services agreed upon by the parties relating to each Company’s
duties under the Bankruptcy Code and in connection therewith, each of the Authorized Persons,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and to cause to be filed an appropriate application for
authority to retain Kroll in accordance with applicable law;

         RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ any other professionals to assist each Company in carrying out
its duties under the Bankruptcy Code and in connection therewith, each of the Authorized Persons,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and to cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is, with
power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, objections, replies, applications, pleadings, lists and other papers and, in
connection therewith, to employ and retain all assistance by legal counsel, accountants, investment
bankers, financial advisors, restructuring advisors and other professionals and to take and perform
any and all further acts and deeds that each of the Authorized Persons deems necessary,
appropriate, or desirable in connection with each Company’s Chapter 11 Case or the Canadian
Proceedings, with a view to the successful prosecution of the applicable proceeding, and cause to
be executed and filed appropriate applications with the Bankruptcy Court or the Canadian Court
for authority to retain the services of any other professionals, as necessary;

                                   GENERAL AUTHORITY

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized and directed to take such further steps and execute and deliver such further documents,
instruments, agreements, consents and filings as such officers, with the advice of counsel, may
deem necessary or desirable to carry out any transactions contemplated by the above resolutions;

        RESOLVED FURTHER, that the authority conferred upon any Authorized Person by
these resolutions are in addition to, and shall in no way limit, such other authority as such
Authorized Person may have with respect to the subject matter of the foregoing resolutions, and in
addition to the specific authorizations heretofore conferred upon the Authorized Persons, each of
the Authorized Persons (and their designees and delegates) be, and hereby is, authorized and
empowered, in the name of and on behalf of each Company, to take or cause to be taken any and
all such other and further action, and to execute, acknowledge, deliver, file and/or record any and



                                                 9
        Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 21 of 35




all such agreements, certificates, instruments and other documents and to pay all expenses,
including but not limited to any and all required fees or taxes, in each case as in such Authorized
Person’s judgment, shall be necessary, appropriate or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein;

        RESOLVED FURTHER, that any and all acts, transactions, agreements or certificates
previously signed on behalf of each Company by any Authorized Officer in connection with or
furtherance of the foregoing resolutions that are consistent with the foregoing resolutions be, and
hereby are, in all respects approved, adopted, confirmed and ratified in all respects as the true acts
and deeds of such Company, with the same force and effect as if each such act, transaction,
agreement or certificate had been specifically authorized in advance by resolution of the Governing
Body of such Company and such officer(s) did execute the same;

        RESOLVED FURTHER, that the omission from these resolutions of any agreement or
other arrangement contemplated by any of the agreements described in the foregoing resolutions
or any action to be taken in accordance with any requirement of any of the agreements described
in the foregoing resolutions shall in no manner derogate from the authority of any Authorized
Person to take all actions necessary, desirable, advisable or appropriate to consummate, effectuate,
carry out or further the matters contemplated by and the intent and purposes of the foregoing
resolutions;

        RESOLVED FURTHER, that if any resolution contained herein shall be adjudicated by
a court of competent jurisdiction to be invalid, prohibited or unenforceable for any reason, then, to
the greatest extent permitted by applicable law, such resolution, solely with respect to such
jurisdiction, shall be ineffective, without affecting the validity or enforceability of any other
resolution in such jurisdiction and without affecting the validity or enforceability of any resolution
in any other jurisdiction;

        RESOLVED FURTHER, that the Authorized Persons of each Company are, and each of
them hereby is, authorized, empowered and directed to certify and furnish such copies of these
resolutions and such statements as to the incumbency of such Company’s officers, under seal if
necessary, as may be requested, and any person receiving such certified copy is and shall be
authorized to rely upon the contents thereof;

       RESOLVED FURTHER, that this written consent may be executed in multiple
counterparts, all of which shall be considered one and the same consent and shall become effective
when signed by a majority of the members, all of the directors, a majority of the managers or the
general partner, as applicable, of the applicable Governing Bodies; and

        RESOLVED FURTHER, that this consent may be executed and delivered by means of
facsimile, telecopy or other electronic transmission (including email of a “pdf” signature), this
consent shall be treated in all manners and respects and for all purposes as an original consent and
shall be considered to have the same binding legal effect as if it were the original signed version
thereof delivered in person.




                                                 10
Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 22 of 35




                  [SIGNATURE PAGE FOLLOWS]




                               11
DocuSign Envelope ID: C63FD3E6-7833-4753-BEC4-28BAE1A1FC2D
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 23 of 35




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                         BOARD OF MANAGERS:
                                                         SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: C4D63070-EBC7-498C-8686-1E4838582CC9
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 24 of 35




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                             BOARD OF MANAGERS:
                                                             SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: DB7E1CA6-A5B6-4CF7-950A-06C25D8229D3
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 25 of 35




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                         BOARD OF MANAGERS:
                                                         SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: 66DCB00E-63B6-4148-8254-6D1FC841A316
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 26 of 35




                    IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
            written consent as of the date first written above.


                                                             BOARD OF MANAGERS:
                                                             SUNGARD AS NEW HOLDINGS, LLC


                                                                       ____________________________________
                                                                       Jarrett Appleby


                                                                       ____________________________________
                                                                       Patrick Bartels


                                                                       ____________________________________
                                                                       Robert Guth


                                                                       ____________________________________
                                                                       Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: 66DCB00E-63B6-4148-8254-6D1FC841A316
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 27 of 35




                                                             SUNGARD AS NEW HOLDINGS, LLC, as sole
                                                             Member of Sungard AS New Holdings II, LLC
                                                             SUNGARD AS NEW HOLDINGS II, LLC, as sole
                                                             Member of Sungard AS New Holdings III, LLC


                                                             _____________________________
                                                             Name: Michael Robinson
                                                             Title: Chief Executive Officer




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: 66DCB00E-63B6-4148-8254-6D1FC841A316
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 28 of 35




                                                             SOLE DIRECTOR/MANAGER:

                                                             SUNGARD AVAILABILITY SERVICES
                                                             HOLDINGS, LLC
                                                             SUNGARD AVAILABILITY SERVICES
                                                             TECHNOLOGY, LLC
                                                             INFLOW LLC
                                                             SUNGARD AVAILABILITY NETWORK
                                                             SOLUTIONS INC.
                                                             SUNGARD AVAILABILITY SERVICES
                                                             HOLDINGS (CANADA), INC.
                                                             SUNGARD AVAILABILITY SERVICES, LTD.


                                                             _____________________________
                                                             Michael Robinson




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: 66DCB00E-63B6-4148-8254-6D1FC841A316
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 29 of 35




                                                             BOARD OF DIRECTORS:
                                                             SUNGARD AVAILABILITY SERVICES
                                                             HOLDINGS (EUROPE), INC.


                                                             _____________________________
                                                             Michael Robinson

                                                             _____________________________
                                                             Michael Tobin




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: EA2F0BD0-6A91-43BD-9E6B-99DA98A87374
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 30 of 35




                                                         BOARD OF DIRECTORS:
                                                         SUNGARD AVAILABILITY SERVICES
                                                         HOLDINGS (EUROPE), INC.


                                                         _____________________________
                                                         Michael Robinson

                                                         _____________________________
                                                         Michael Tobin




                                      [Signature Page to Written Consent of the Governing Bodies]
DocuSign Envelope ID: 66DCB00E-63B6-4148-8254-6D1FC841A316
                     Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 31 of 35




                                                             GENERAL PARTNER:

                                                             SUNGARD AVAILABILITY TECHNOLOGY,
                                                             LLC,
                                                             as general partner of Sungard Availability Services,
                                                             LP

                                                             _____________________________
                                                             Name: Michael Robinson
                                                             Title: Chief Executive Officer




                                      [Signature Page to Written Consent of the Governing Bodies]
Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 32 of 35
Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 33 of 35




                            Exhibit A

                 Restructuring Support Agreement

                            [Omitted]
Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 34 of 35




                           Exhibit B

                    Term Loan DIP Term Sheet

                            [Omitted]
Case 22-90017 Document 1 Filed in TXSB on 04/11/22 Page 35 of 35




                           Exhibit C

                       ABL DIP Term Sheet

                            [Omitted]
